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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 Christina Cupp, as Administrator of the )
 Estate of Little John Cupp,             )
                                         )
                Plaintiff,               )
                                         )
                                         )
        v.                               )            Case No. 2:24-cv-01519
                                         )
 United HealthCare Services, Inc., )                  Judge Edmund A. Sargus
 EviCore Healthcare MSI, LLC, Adena )                 Magistrate Judge Chelsey M. Vascura
 Health System, Adena Medical Group, )
 LLC, and Hafeez Ul Hassan,              )
                                         )
                                         )
                Defendants.              )

               DEFENDANT EVICORE HEALTHCARE MSI, LLC
          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS

       In accordance with Federal Rule of Civil Procedure 12(b)(6), Defendant EviCore

Healthcare MSI, LLC (“EviCore”) moves this Court to dismiss with prejudice the Complaint filed

by Plaintiff Christina Cupp as Administrator of the Estate of Little John Cupp because the

Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq. (as amended)

(ERISA) preempts Cupp’s claims. Her claims for wrongful death, bad faith, lack of informed

consent, and punitive damages also fail because those claims are not adequately alleged. In support

of its Motion, EviCore states as follows:

                                       INTRODUCTION

       Plaintiff Christina L. Cupp is the administrator of the estate of Little John Cupp

(“Decedent”). Cupp alleges that Decedent suffered a cardiac arrest and death while seeking heart

treatment that the EviCore wrongfully denied. At all relevant times, Decedent received healthcare

benefits through a “Welfare Benefits Plan” funded and sponsored by his former employer, Jones
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Lang LaSalle.

       Cupp alleges the following state law claims against the EviCore: (1) a claim for a

declaratory judgment that benefits under the Policy1 were wrongfully denied, (2) breach of contract

under the Policy, (3) bad faith denial of benefits under the Policy, (4) punitive damages, (5)

wrongful death, and (6) failure to obtain informed consent. In addition to a declaratory judgment

and punitive damages, Cupp seeks relief in the form of damages exceeding $25,000 for each of

her breach of contract and bad faith claims, and for her wrongful death and informed consent

claims together. But ERISA expressly preempts all her claims because they relate to the Plan,

which is an employee welfare benefit plan governed by ERISA. The Complaint must be dismissed

with prejudice.

                                 FACTUAL ALLEGATIONS2

       Cupp alleges that, on or about December 9, 2021, Decedent sought medical treatment from

Defendant Hafeez ul Hassan, M.D. for shortness of breath and dyspnea on exertion. Complaint,

Dkt. 3 ¶ 10. Based on allegedly abnormal echocardiogram results interpreted by Dr. Hassan,

Decedent submitted a “Pre-Service Request for Benefits” to the EviCore requesting authorization

to undergo a diagnostic left heart catheterization and ventriculography procedure. Id. ¶¶ 11, 17.

On December 17, 2021, Decedent’s request was denied on the grounds that the requested

procedures were not medically necessary. Id. ¶ 18. The denial was upheld on the same grounds on



1
  Although Cupp alleges that Decedent was an insured under “a health insurance policy provided
by and/or managed by the EviCore,” she attached the Plan’s Summary Plan Description to her
Complaint, noting that it contains “the health benefits provided under the Policy” and “identifies
the Plan Name for the Policy . . . and the Plan Number.” Compl. ¶ 12, Ex. 1. The SPD confirms
that the Plan is self-insured. Summary Plan Description, attached as Exhibit A, at 182.
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 These are drawn from the Complaint for purposes of this Motion only and are not intended to
constitute admissions or stipulations for any other purpose.


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February 8, 2022. Id. ¶ 20. On March 2, 2022, Decedent underwent a diagnostic nuclear stress test

which allegedly confirmed the December 9, 2021 echocardiogram results. Id. ¶ 22. Decedent died

of cardiac arrest the following day. Id. ¶ 23.

       At all relevant times, Decedent was a participant in the Plan. Jones Lang LaSalle is the

Plan Sponsor and Plan Administrator and United HealthCare is the Plan’s designated Claims

Administrator. See Summary Plan Description, attached as Exhibit A, at 181. ERISA governs all

“employee welfare benefit plan[s],” meaning “any plan, fund, or program which was heretofore or

is hereafter established or maintained by an employer . . . , to the extent that such plan . . . was

established or is maintained for the purpose of providing for its participants or their beneficiaries,

through the purchase of insurance or otherwise, (A) . . . benefits in the event of sickness, accident,

disability, death or unemployment.” See 29 U.S.C. § 1002(1). Because the Plan falls squarely

within the bounds of that statutory definition, it is governed by ERISA.

       But if that point was unclear, the SPD explicitly states that the Plan is governed by ERISA.

See Ex. A at 1 (“This SPD is designed to meet your information needs and the disclosure

requirements of the Employee Retirement Income Security Act of 1974 (ERISA).”). Cupp

attached the SPD to the Complaint as Exhibit 1. See Dkt. 3 ¶ 12; Dkt. 1-1 at 15–227. The SPD

confirms in numerous sentences that the Plan is governed by ERISA. Ex. A at 181. Section 16 of

the SPD, titled “Important Administrative Information: ERISA,” provides in relevant part:

   •   “What this section includes: Plan administrative information, including your rights
       under ERISA.”

   •   “This section includes information on the administration of the medical Plan, as
       well as information required of all Summary Plan Descriptions by ERISA as defined
       in Section 14, Glossary.”

   •   “This section of your SPD contains information about how the Plan is administered
       as required by ERISA.”




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    •   “As a participant in the Plan, you are entitled to certain rights and protections under
        ERISA. . . .”

Ex. A, at 182–83.3
                                   LEGAL STANDARD

        Under Federal Rule of Civil Procedure 12(b)(6), a district court should dismiss a complaint

that fails to “state a claim upon which relief can be granted.” Although the district court must draw

all reasonable inferences in favor of the plaintiff when ruling on a motion to dismiss, legal

conclusions and “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements” are not presumed true. See Ashcroft v. Iqbal, 556 U.S. 662, 678–80 (2009).

        The complaint must “state a claim to relief that is plausible on its face.” Id. at 678 (internal

citation and quotation marks omitted). A claim has requisite “facial plausibility” when the plaintiff

“pleads factual content that allows the court to draw the reasonable inference that the defendant is

responsible for the misconduct alleged.” Id. Although the plausibility standard differs from a

“probability requirement,” it still requires more than a “sheer possibility that a defendant has acted

unlawfully.” Id. “Where a complaint pleads facts that are merely consistent with a defendant’s

liability, it stops short of the line between possibility and plausibility of entitlement to relief.” Id.

(internal citation and quotation marks omitted). In such cases, the Court should dismiss the

complaint for failing to state a cause of action under Fed. R. Civ. P. 12(b)(6).

        “[D]ocuments attached to the pleadings become part of the pleadings and may be

considered on a motion to dismiss.” Com. Money Ctr., Inc. v. Ill. Union Ins. Co., 508 F.3d 327,




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  In addition to the references to ERISA contained in the SPD, Jones Lang LaSalle also complied
with its ERISA obligations by filing Treasury Form 5500 for the subject Plan, which is mandatory
for employee benefit plans governed by ERISA. See Form 5500 Schedule A, attached as Exhibit
B; see also 29 U.S.C. § 1023.


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335 (6th Cir. 2007) (citing Fed. R. Civ. P. 10(c)). Here, that includes the SPD, which Cupp attached

to her Complaint.4

                                        ARGUMENT

          As set forth below, Cupp’s claims against the EviCore are expressly and completely

preempted under ERISA and must be dismissed under 29 U.S.C. §§ 1144(a) and 1132(a)(1)(B).

Cupp also fails to adequately allege claims for wrongful death, bad faith, lack of informed consent,

and punitive damages; those pleading failures provide an independent basis for dismissal of those

claims.

    I.       CUPP’S CLAIMS AGAINST EVICORE MUST BE DISMISSED BECAUSE
             ERISA EXPRESSLY PREEMPTS THEM.

          Congress enacted ERISA “to protect . . . the interests of participants in employee benefit

plans and their beneficiaries by setting out substantive regulatory requirements for employee

benefit plans and to provide for appropriate remedies, sanctions, and ready access to the Federal

courts.” Aetna Health Inc. v. Davila, 542 U.S. 200, 208 (2004) (quoting 29 U.S.C. § 1001(b))

(internal quotation marks omitted). The Supreme Court has held time and again that ERISA’s

“carefully integrated civil enforcement provisions,” Mass. Mut. Life Ins. Co. v. Russell, 473 U.S.

134, 146 (1985), “were intended to be exclusive,” Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41, 54

(1987). To that end, ERISA contains “expansive pre-emption provisions,” which operate to

maintain the regulation of benefit plans in the federal domain. Davila, 542 U.S. at 208 (citations

omitted); see also Pilot Life, 481 U.S. at 46 (ERISA’s preemption provisions are “deliberately



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  In addition to the complaint and exhibits thereto, “[a] court may consider matters of public record
in deciding a motion to dismiss without converting the motion to one for summary judgment.”
Com. Money Ctr., 508 F.3d at 336. This includes “excerpts from publicly available annual
Department of Labor Form 5500 reports.” Davis v. Magna Int’l of Am., Inc., 2021 U.S. Dist.
LEXIS 62106, at *6 (E.D. Mich. Mar. 31, 2021). Accordingly, the Court may properly consider
the publicly available Form 5500 for the Plan filed by Jones Lang LaSalle.


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expansive, and designed to establish [ERISA] plan regulation as exclusively a federal concern”);

Metropolitan Life Ins. Co. v. Massachusetts, 471 U.S. 724, 739 (1985) (Congress included

ERISA’s expansive preemption clause “to displace all state laws that fall within [ERISA’s] sphere,

even including state laws that are consistent with ERISA’s substantive requirements”).

       ERISA preempts “any and all State laws insofar as they may now or hereafter relate to any

employee benefit plan.” ERISA § 514(a), 29 U.S.C. § 1144(a). That includes state common law

claims. See, e.g., Cromwell v. Equicor– Equitable HCA Corp., 944 F.2d 1272, 1276 (6th Cir. 1991)

(the Sixth Circuit “has repeatedly recognized that virtually all state law claims relating to an

employee benefit plan are preempted by ERISA” and holding that plaintiffs’ state law contract

claims were “at the very heart of issues within the scope of ERISA’s exclusive regulation”); Lerner

v. Elec. Data Sys. Corp., 2009 U.S. App. LEXIS 4922, *7 (6th Cir., Mar. 9, 2009) (breach of

contract claim seeking payment of insurance benefits “related to” an ERISA benefit plan and was

preempted). A state law “relates to an employee benefit [ERISA] plan, in the normal sense of the

phrase, if it has a connection with or reference to such a plan.” Shaw v. Delta Air Lines, Inc., 463

U.S. 85, 96–97 (1983) (internal marks omitted).

       Here, Cupp’s claims against the EviCore relate to an ERISA-governed plan because they

arise from the administration of Decedent’s claim for healthcare benefits under the Plan. Cupp

alleges that, at all relevant times, Decedent was a participant in the Plan, he sought benefits under

the Plan in connection with his medical procedures (specifically, a diagnostic heart catheterization

and ventriculography), and that his claim for those benefits was wrongfully denied. Cupp’s state

law clearly claims “relate to” the ERISA-governed plan at issue and so they are expressly

preempted under ERISA § 514(a). See, e.g., ERISA § 514(a), 29 U.S.C. § 1144(a); Pilot Life, 481

U.S. at 47–48 (claims for bad faith and breach of contract “relate to” the administration of an




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ERISA plan and are therefore preempted by ERISA); Cromwell, 944 F.2d at 1276 (state-law

breach of contract claim based on denial of benefits is “at the very heart of issues within the scope

of ERISA's exclusive regulation”); Tolton v. Am. Biodyne, Inc., 48 F.3d 937, 942 (6th Cir. 1995)

(state-law claims for wrongful death, improper denial of benefits, and insurance bad faith were

preempted because plaintiff’s claims “all arise from American Biodyne’s refusal to authorize

psychiatric benefits to Tolton under the [ERISA] plan” and therefore “clearly ‘relate to’ the benefit

plan”); Gadsby v. United of Omaha Life Ins. Co., 2019 U.S. Dist. LEXIS 52587, at *7–8 (E.D. Pa.

Mar. 28, 2019) (claim for a declaration “as to Defendants’ duties . . . under the Policy” expressly

preempted “because it invokes a state common law claim that relates to or has a connection with

a plan governed by ERISA”); Vaught v. The Hartford Life & Accident Ins. Co., at *16 (S.D. Ohio

Sept. 1, 2011) (“With respect to damages, plan beneficiaries may not recover punitive damages

for the denial of ERISA benefits. Punitive damages are based on state law and thus are preempted

under ERISA.” (citing Davis v. Kentucky Finance Cos. Retirement Plan, 887 F.2d 689, 697 (6th

Cir. 1989), cert. denied, 495 U.S. 905 (1990); Varhola v. Doe, 820 F.2d 809, 817 (6th Cir. 1987)));

id. at 7–10 (breach of contract and bad faith claims preempted by ERISA “because they plainly

relate to the administration of the Plan and the denial of benefits”). Accordingly, the Complaint

should be dismissed with prejudice.

   II.      CUPP’S CLAIMS AGAINST EVICORE ALSO MUST BE DISMISSED
            BECAUSE ERISA § 502(A)(1)(B) COMPLETELY PREEMPTS THEM AND
            HER SOLE REMEDY, IF ANY, IS AN ERISA CLAIM FOR BENEFITS.

         An ERISA plan participant has a limited remedy in the event they believe that benefits

were not properly administered under the plan: They may bring suit “to recover benefits due to

him under the terms of the plan, to enforce his rights under the terms of the plan, or to clarify his




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rights to future benefits under the terms of the plan.” 29 U.S.C. § 1132(a)(1)(B). This is the plan

participant’s exclusive remedy, and any related state court causes of action are pre-empted.

          Cupp’s claims are completely preempted under ERISA § 502(a)(1)(B), 29 U.S.C.

§ 1132(a)(1)(B). In Pilot Life, the Supreme Court held that Congress clearly intended for the

remedies in ERISA § 502(a) to be exclusive. 481 U.S. at 54; see also Metropolitan Life Ins. Co. v.

Taylor, 481 U.S. 58 (1987). Since Pilot Life and Taylor, the Supreme Court has confirmed time

and again that the exclusivity of ERISA’s civil enforcement scheme ensures that ERISA plans,

and those who administer them, are “subject to a uniform body of benefits law.” Ingersoll-Rand

Co. v. McClendon, 498 U.S. 133, 142 (1990); see also Shaw, 463 U.S. at 105; Egelhoff v. Egelhoff,

532 U.S. 141, 148 (2001) (noting that “[u]niformity is impossible … if plans are subject to different

legal obligations in different States.”). The Court reasoned, “[t]he policy choices reflected in the

inclusion of certain remedies and the exclusion of others under the federal scheme would be

completely undermined if ERISA-plan participants [and beneficiaries] were free to obtain

remedies under state law that Congress rejected in ERISA.” Pilot Life, 481 U.S. at 54.

          To maintain that uniformity, the Court explained in Davila that “any state-law cause of

action that duplicates, supplements, or supplants the ERISA civil enforcement remedy conflicts

with the clear congressional intent to make the ERISA remedy exclusive and is therefore pre-

empted.” Davila, 542 U.S. at 209. This is the doctrine of complete preemption. In Davila, the

Supreme Court articulated a two-prong test for complete ERISA preemption, stating: “if an

individual, at some point in time, could have brought his claim under ERISA §502(a)(1)(B), and

where there is no other independent legal duty that is implicated by a defendant’s actions, then the

individual’s cause of action is completely pre-empted by ERISA §502(a)(1)(B).” Davila, 542 U.S.

at 210.




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       Here, ERISA completely preempts Cupp’s Complaint because it “duplicates, supplements,

[and] supplants” the remedies available to her under ERISA. See, e.g., Davila, 542 U.S. at 209;

Little River Band of Ottawa Indians v. Blue Cross Blue Shield of Mich., 183 F. Supp. 3d 835, 842

(E.D. Mich. 2016) (“‘[A]ny state-law cause of action that duplicates, supplements, or supplants

the ERISA civil enforcement remedy conflicts with the clear congressional intent to make the

ERISA remedy exclusive and is therefore pre-empted.’. . . The plaintiffs' state law claims therefore

will be dismissed without prejudice.” (citations omitted)); Lerner v. Cont’l Cas. Co., 2006 U.S.

Dist. LEXIS 12899, at *3–4 (E.D. Mich. Mar. 13, 2006) (breach of contract claim completely

preempted under ERISA § 502 where it would “require an interpretation of the plan or a

clarification of its benefits”); Kasle v. BCBSM Found., 2019 U.S. Dist. LEXIS 171, at *3–5 (E.D.

Mich. Jan. 2, 2019) (dismissing breach of contract claim because it was completely preempted

under ERISA § 502). Although couched in state law, each of Cupp’s claims flows from the

allegation that the denial of Decedent’s request for the catheterization and ventriculography on

medical necessity grounds constituted a breach of the Plan. Therefore, Cupp’s state law claims

“could have brought his claim under ERISA § 502(a)(1)(B).” Davila, 542 U.S. at 210. And the

legal duty that Cupp seeks to enforce is grounded in the Decedent’s ERISA-governed Plan. The

Complaint does not allege that the EviCore violated any other “independent legal duty” outside of

those governing compliance with the Plan. Id. Nor could it: The parties’ relationship arose solely

from the ERISA-governed Plan. To rule on Cupp’s claims, the Court would have to refer to and

construe the Plan’s terms. Accordingly, Cupp’s claims are completely preempted by ERISA, her

sole remedy, if any, is a claim for benefits under the Plan, and the Complaint should be dismissed

with prejudice.




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   III.      ALTERNATIVELY, CUPP’S WRONGFUL DEATH, BAD FAITH, LACK OF
             INFORMED CONSENT, AND PUNITIVE DAMAGES CLAIMS AGAINST
             EVICORE MUST BE DISMISSED BECAUSE CUPP HAS NOT ALLEGED
             FACTS SUPPORTING THOSE CLAIMS.

          Even if ERISA did not preempt the Complaint, Cupp’s claims for wrongful death, bad

faith, lack of informed consent, and punitive damages each fail for the independent reason that she

has not adequately alleged them.

          To state a valid wrongful death claim under Ohio law, Cupp must plead the following

elements:

                 1) death of the decedent; 2) commencement of the action within two
                 years thereafter; 3) a wrongful act, neglect or default of defendant
                 that proximately caused the death and would have entitled the
                 decedent to maintain an action and recover damages had he not died;
                 4) decedent was survived by a spouse, children, parents or other next
                 of kin; and 5) survivors have incurred damages as a result of the
                 wrongful death.

Hellmuth v. Hood, 2019 U.S. Dist. LEXIS 38156, at *6 (6th Cir. Dec. 20, 2019) (citing Bailey v.

United States, 115 F. Supp. 3d 882, 889 (N.D. Ohio 2015)). Cupp alleges that she is the

administrator or Decedent’s estate, but she has not pleaded her relationship to Decedent, if any,

nor has she pleaded damages that she suffered as result of his death. Those failures warrant

dismissal. See Fekety v. Wellpath, 2023 U.S. Dist. LEXIS 183239, at *13 (N.D. Ohio, Oct. 12,

2023) (“The Complaint does not identify a survivor or next of kin. Plaintiff did not develop any

legal argument that an estate administrator satisfies the fourth element of the cause of action. . . .

For these reasons, the Court concludes that Plaintiff did not plead a wrongful death claim under

Ohio law.”).

          Her bad faith claim fares no better. Under Ohio law, “[a]n insurer is liable in tort for bad

faith whenever ‘its refusal to pay [a] claim is not predicated upon circumstances that furnish



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reasonable justification therefor.’” Dawson v. Allstate Vehicle, 2024 U.S. Dist. LEXIS 349, at *16

(S.D. Ohio Jan. 2, 2024) (citing Zoppo v. Homestead Ins. Co., 71 Ohio St. 3d 552, 554, 644 N.E.2d

397, 400 (Ohio 1994)). But Cupp does not plead how the allegedly improper denial of benefits of

which she complains was not “predicated upon circumstances that furnish reasonable justification

therefor” when, as she alleges, EviCore deemed the procedures for which Decedent requested

authorization “not medically necessary.” Dkt. 3 ¶ 18.

       Cupp’s informed consent claim suffers from similar pleading defects.

               To establish a cause of action for failure to obtain informed consent,
               the plaintiff must satisfy the following elements: (1) the physician
               failed to “disclose to the patient and discuss the material risks and
               dangers inherently and potentially involved with respect to the
               proposed therapy,” (2) “the unrevealed risks and dangers which
               should have been disclosed by the physician actually materialize and
               are the proximate cause of the injury to the patient,” and (3) “a
               reasonable person in the position of the patient would have decided
               against the therapy had the material risks and dangers inherent and
               incidental to treatment been disclosed.”

NCMIC Ins. Co. v. Smith, 389 F. Supp. 3d 535, 544 (S.D. Ohio 2019) (quoting White v. Leimbach,

131 Ohio St. 3d 21, 26, 959 N.E.2d 1033 (2011)). Analyzing those elements confirms why Cupp’s

informed consent claim is inadequately pleaded: The cause of action is for seeking relief from

physicians—not insurance entities. Compare Adams v. Cincinnati Children’s Hosp. Med. Ctr.,

2019 U.S. Dist. LEXIS 37319, at *11 – 12 (S.D. Ohio Mar. 8, 2019) (“A lack of informed consent

is a medical claim.” (citing White, 131 Ohio St. 3d at 29, 959 N.E. 2d at 1042)) with Ohio Rev.

Code § 2305.113(E)(3) (“‘Medical claim’ means any claim that is asserted in any civil action

against a physician, podiatrist, hospital, home, or residential facility, against any employee or agent

of a physician, podiatrist, hospital, home, or residential facility, or against a licensed practical

nurse, registered nurse, advanced practice registered nurse, physical therapist, physician assistant,

emergency medical technician-basic, emergency medical technician-intermediate, or emergency



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medical technician-paramedic, and that arises out of the medical diagnosis, care, or treatment of

any person. . . .”).

        Here, even taking Cupp’s allegations as true, EviCore did not propose any course of action

to Decedent about heart treatment, did not render any treatment to him, and were under no duty to

discuss the medical risks associated with undergoing or forgoing any particular treatment proposed

to him by his treating providers—they merely adjudicated his pre-authorization request as required

by the terms of the Plan. The Plan does not require that members’ express consent be obtained

prior to adjudicating claims—that consent is implied by their membership in the Plan. And in any

event, the “treatment” for which Cupp alleges EviCore failed to obtain Decedent’s informed

consent is effectively the absence of treatment. In short, Cupp’s theories do not graft onto an

informed consent claim and that misalignment is evident in the inadequacy of the allegations

surrounding the informed consent claim.

        Finally, Cupp purports to press a claim for punitive damages, but she cannot do so because

“Ohio law does not recognize a stand-alone cause of action for punitive damages[.]” Reber v. Lab

Corp. of Am., 2015 U.S. Dist. LEXIS 153838, at *8 (S.D. Ohio Nov. 13, 2015) (citing Moskovitz

v. Mt. Sinai Med. Ctr., 69 Ohio St. 3d 638, 635 N.E.2d 331, 342 (Ohio 1994)).

                                         CONCLUSION

        For the foregoing reasons, this Court should grant Defendant EviCore’s motion to dismiss

Plaintiff’s Complaint with prejudice because it fails to state a claim upon which relief can be

granted.

        WHEREFORE, Defendant EviCore Healthcare MSI, LLC requests that the Court grant its

Motion to Dismiss, enter an Order dismissing Plaintiff’s Complaint with prejudice, and for such

other and further relief as the Court deems just and proper.




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                                         Respectfully submitted:

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                                CERTIFICATE OF SERVICE

        A hereby certify that on April 26, 2024, I electronically filed the foregoing Motion to

Dismiss using the CM/ECF system, which will send notification of such filing to counsel of record

for all parties.



                                                    /s/ Carly D. Glantz
                                                    Attorney for Defendant
                                                    EviCore Healthcare MSI, LLC




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